Case 1:13-cv-03309-REB-KMT Document 90-5 Filed 10/06/14 USDC Colorado Page 1 of 2




   DISTRICT COURT, PARK COUNTY, COLORADO
   Court Address:
   P.O. Box 190, 300 Fourth Street, Fairplay, CO, 80440
                                                                               
   Plaintiff(s) NATIONSTAR MORTGAGE LLC
                                                                           
   v.
   Defendant(s) MARTIN T WIRTH



                                                                                  COURT USE ONLY
                                                                     Case Number: 2013CV30104
                                                                     Division: B       Courtroom:

                                            Order: ORDER APPROVING SALE

   The motion/proposed order attached hereto: GRANTED.




   Issue Date: 1/22/2014




   STEPHEN A GROOME
   District Court Judge




                                                                                   5
                                                                                                       Page 1 of 1
Case 1:13-cv-03309-REB-KMT Document 90-5 Filed 10/06/14 USDC Colorado Page 2 of 2




    DISTRICT COURT, PARK COUNTY, COLORADO
    Court Address: 300 4TH ST., P.O. BOX 190
                   FAIRPLAY, CO 80440

    IN THE MATTER OF THE MOTION OF NATIONSTAR
    MORTGAGE LLC FOR AN ORDER AUTHORIZING
    THE PUBLIC TRUSTEE TO SELL CERTAIN REAL
    ESTATE UNDER A POWER OF SALE CONTAINED
    WITHIN A DEED OF TRUST                    COURT USE ONLY
                                                           LY
                                                             

                                                                                   
                                                                               
                                                            Case Number: 2013CV030104
                                                                         2013CV03



                                                                    
                                                            Division:
                                                                      
                                                                  on: B
                                                                 ion:

                                  ORDER APPROVING SALE
                                                    LE
                                                     E
                                                                
                                                           
   otherwise fully advised in the premises, hereby    
          THE COURT, having considered the Return of Sale,
                                                      ale, the Court’s file herein and being


          ORDERS that the said Return off Sale
   disapproves the deficiency, if any.
                                                 
                                          Sale is approved.
                                                  a         The Court neither approves nor


          DONE this ___________
                              _ daay of
                                dday o ____________________________, _________.

                      
                   
                                     BY THE COURT:



                                   ______________________________________
                                     DISTRICT COURT JUDGE/MAGISTRATE


             
   Wirth

         
       h / 113
            13-03477
            13-0
               034
               034
